             Case 18-2683, Document 102, 08/06/2019, 2625152, Page1 of 3




                                        LAW OFFICES
            EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
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                                         August 6, 2019


VIA ELECTRONIC FILING
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

Re:    Verified Bill of Costs
       Docket # 18-2683cv

Dear Sirs/ Madams:

        The Fee Schedule for the Second Circuit Court of Appeals Effective September 1, 2018
provides for reproduction costs of $0.20 per page for costs sought under Federal Rules of
Appellate Procedure Rule 39. Here, Plaintiff-Appellant’s counsel, Edelman Combs Latturner &
Goodwin, LLC, printed and reproduced the Appellant’s opening and reply briefs as well as the
three appendices in-house at its regular rate of $0.15 per page.

        The rate of $0.15 per page is the regular rate Appellant’s counsel charges paying clients
for reproduction costs. The per page rate of $0.15 represents the costs incurred by counsel for
printing and copying. Appellant’s counsel leases a copier and uses consumables such as paper
and toner, and the maintenance of the copier and determined that the rate of $0.15 per page is a
reasonable and accurate representation of the costs Appellant’s counsel incurs for printing and
copying.

                                               Respectfully submitted,


                                               Tiffany N. Hardy

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                                                  1
             Case 18-2683, Document 102, 08/06/2019, 2625152, Page2 of 3




                                           AFFIDAVIT


       I, Tiffany N. Hardy, do submit the foregoing statements under the penalty of perjury and

pursuant to 28 U.S.C. § 1746. The foregoing representations concerning the costs of in-house

printing are correct and were necessarily incurred in the appeal and that the services for which fees

have been charged were actually and necessarily performed.




                                                 (~~~
                                                 Tiffany N. Hardy
                                                 Attorney for Plaintiff-Appellant Gregory Hayles




                 SUBSCRIBED and SWORN to
                                                                   OFFICIAL SEAL
before me this    Lt~ day of August 2019.                         JESSICA DAGNER
                                                            NOTARY PUBLIC· STATE OF IWNOIS
                                                             MY COMMISSION EXPIRES: 12/27/20




                                                  2
             Case 18-2683, Document 102, 08/06/2019, 2625152, Page3 of 3




                                 CERTIFICATE OF SERVICE

        I, Tiffany N. Hardy, hereby certify that on August 6, 2019, I caused to be filed the foregoing
document with the Clerk of the United States Court of Appeals for the Second Circuit via the
court’s CM/ECF System, which caused to be sent notification of such filing via electronic mail to
the following parties:

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                                                              s/ Tiffany N. Hardy
                                                              Tiffany N. Hardy



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                                                  3
